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Dear Honorable Judge McNulty,

I just landed from a business trip and I received word that there
was a speedy hearing initiatated by the plaintiffs that was heard
yesterday. I was never handed any paperwork or spoken to any servers
in regards to this latest motion and the business trip I just came back
from was scheduled months ago and confirmed last month.

I am in the process of securing an attorney over today and
tomorrow. Please allow me to respond to this latest motion in a hearing
that I or my new legal counsel can attend.

   

  

Garth Naar
Avatar Management LLC

 
 

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